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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

vs.                                NO. 4:12CR00170-001 SWW

CHRISTOPHER ARNOLD HOGAN                                                     DEFENDANT

                                             ORDER

       The above entitled cause came on for hearing May 19, 2016 on government’s superseding

petition to revoke the supervised release previously granted this defendant in the United States

District Court for the Eastern District of Arkansas. Based upon the evidence, testimony of the

witness and statements of counsel, the Court found that defendant has violated the conditions of his

supervised release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the government’s superseding

motion to revoke defendant’s supervised release [doc #313] is granted and defendant’s supervised

release is hereby revoked. Defendant shall serve a term of imprisonment of NINE (9) MONTHS

in the custody of the Bureau of Prisons. The Court recommends that defendant be incarcerated in

Fort Worth, Texas.

       There will be NO supervised release to follow.

       IT IS FURTHER ORDERED that defendant be remanded to the custody of the U.S. Marshal

for transport to the designated facility to begin the service of the sentence imposed.

       DATED this 19th day of May 2016.

                                                      /s/Susan Webber Wright
                                                      United States District Judge
